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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

EVELYN SMITH,                                                                       PETITIONER

V.                                                                          NO. 1:06CR074-WAP

UNITED STATES OF AMERICA,                                                          RESPONDENT


                                             ORDER
       Petitioner, a federal inmate, filed this matter pursuant to 28 U.S.C. § 2255. Her petition was

filed on November 13, 2007. Petitioner simultaneously submitted a motion for extension of time

to file her supporting memorandum. The court finds that the motion for extension of time (docket

entry 220) is well taken and shall be GRANTED.

       Petitioner has filed a motion to proceed pro se (docket entry 221) which the court finds is

also well taken and shall be GRANTED.

       SO ORDERED, this the 15th day of November, 2007.



                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
